      Fill in this information to identify your case:

      United States Bankruptcy Court for the:

      Northern District of California

      Case number (If known): _________________________ Chapter you are filing under:
                                                             Chapter 7                                                   Check if this is an
                                                            ✔ Chapter 11
                                                            
                                                             Chapter 12                                                     amended filing
                                                             Chapter 13




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                        12/22

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:     Identify Yourself

                                        About Debtor 1:                                       About Debtor 2 (Spouse Only in a Joint Case):
 1.   Your full name
                                        William
                                        __________________________________________________    Julie
                                                                                              __________________________________________________
      Write the name that is on your    First name                                            First name
      government-issued picture
      identification (for example,
                                        T
                                        __________________________________________________    I__________________________________________________
      your driver’s license or          Middle name                                           Middle name
      passport).                        Romanowski
                                        __________________________________________________    Romanowski
                                                                                              __________________________________________________
                                        Last name                                             Last name
      Bring your picture
      identification to your meeting    ___________________________                           ___________________________
      with the trustee.                 Suffix (Sr., Jr., II, III)                            Suffix (Sr., Jr., II, III)



 2.   All other names you               __________________________________________________    __________________________________________________
                                        First name                                            First name
      have used in the last 8
      years                             __________________________________________________    __________________________________________________
                                        Middle name                                           Middle name
      Include your married or
      maiden names and any               __________________________________________________   __________________________________________________
                                        Last name                                             Last name
      assumed, trade names and                                                                
      doing business as names.          __________________________________________________    __________________________________________________
                                        First name                                            First name
      Do NOT list the name of any
                                        __________________________________________________    __________________________________________________
      separate legal entity such as
                                        Middle name                                           Middle name
      a corporation, partnership, or
      LLC that is not filing this       __________________________________________________    __________________________________________________
      petition.                         Last name                                             Last name

                                        __________________________________________________    __________________________________________________
                                        Business name (if applicable)                         Business name (if applicable)

                                        __________________________________________________   __________________________________________________
                                        Business name (if applicable)                         Business name (if applicable)




 3.   Only the last 4 digits of
      your Social Security              xxx            4
                                                – xx – ____ 7
                                                            ____ 0____ 0____                  xxx    – xx – 8
                                                                                                            ____ 3____ 3____ 3____
      number or federal                 OR                                                    OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                       9 xx – xx – ____ ____ ____ ____
      (ITIN)

Official Form 101
           Case: 24-40726               Doc# Voluntary
                                              1 Filed: Petition for Individuals Filing for Bankruptcy
                                                            05/16/24 Entered: 05/16/24 13:55:25                                page 1
                                                                                                                        Page 1 of 9
Debtor 1     William & Julie Romanowski
             _______________________________________________________                                   Case number (if known)_____________________________________
              First Name   Middle Name               Last Name



                                         About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):


 4.   Your Employer                      ___ ___ – ___ ___ ___ ___ ___ ___ ___                               ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number              EIN                                                                 EIN
      (EIN), if any.
                                         ___ ___ – ___ ___ ___ ___ ___ ___ ___                               ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                         EIN                                                                 EIN



 5.   Where you live                                                                                         If Debtor 2 lives at a different address:


                                         1828  Ivanhoe Avenue
                                         _________________________________________________                   1828 Ivanhoe Avenue
                                                                                                             _________________________________________________
                                         Number           Street                                             Number     Street


                                         _________________________________________________                   _________________________________________________


                                         Lafayette                       CA      94549
                                         _________________________________________________
                                                                                                             Lafayette                             CA        94549
                                                                                                             _________________________________________________
                                         City                                     State     ZIP Code         City                            State   ZIP Code

                                         Contra  Costa
                                         _________________________________________________
                                                                                                             Contra Costa
                                                                                                             _________________________________________________
                                         County                                                              County


                                         If your mailing address is different from the one                   If Debtor 2’s mailing address is different from
                                         above, fill it in here. Note that the court will send               yours, fill it in here. Note that the court will send
                                         any notices to you at this mailing address.                         any notices to this mailing address.


                                         _________________________________________________                   _________________________________________________
                                         Number     Street                                                   Number     Street

                                         _________________________________________________                   _________________________________________________
                                         P.O. Box                                                            P.O. Box

                                         _________________________________________________                   _________________________________________________
                                         City                            State   ZIP Code                    City                            State   ZIP Code




 6.   Why you are choosing               Check one:                                                          Check one:
      this district to file for
      bankruptcy                         
                                         ✔ Over the last 180 days before filing this petition,               
                                                                                                             ✔ Over the last 180 days before filing this petition,
                                                I have lived in this district longer than in any                 I have lived in this district longer than in any
                                                other district.                                                  other district.

                                          I have another reason. Explain.                                    I have another reason. Explain.
                                                (See 28 U.S.C. § 1408.)                                          (See 28 U.S.C. § 1408.)
                                                ________________________________________                         ________________________________________
                                                ________________________________________                         ________________________________________
                                                ________________________________________                         ________________________________________
                                                ________________________________________                         ________________________________________




  Official Form 101
           Case: 24-40726                Doc# Voluntary
                                               1 Filed: Petition for Individuals Filing for Bankruptcy
                                                             05/16/24 Entered: 05/16/24 13:55:25                                               page 2
                                                                                                                                        Page 2 of 9
Debtor 1        William & Julie Romanowski
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                            Chapter 7
                                           
                                           ✔ Chapter 11
                                            Chapter 12
                                            Chapter 13

8.    How you will pay the fee             
                                           ✔ I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                            I need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                   
                                           ✔ No
      bankruptcy within the
      last 8 years?                         Yes. District __________________________ When        _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY



10. Are any bankruptcy                     
                                           ✔ No
      cases pending or being
      filed by a spouse who is              Yes. Debtor _________________________________________________ Relationship to you         _____________________
      not filing this case with                      District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                       MM / DD / YYYY
      partner, or by an
      affiliate?
                                                     Debtor _________________________________________________ Relationship to you      _____________________

                                                     District __________________________ When     _______________ Case number, if known____________________
                                                                                                  MM / DD / YYYY



11. Do you rent your                        No. Go to line 12.
      residence?                           
                                           ✔ Yes. Has your landlord obtained an eviction judgment against you?
                                                      No. Go to line 12.
                                                     ✔
                                                      Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                         part of this bankruptcy petition.




     Official Form 101
             Case: 24-40726                 Doc# Voluntary
                                                  1 Filed: Petition for Individuals Filing for Bankruptcy
                                                                05/16/24 Entered: 05/16/24 13:55:25                                       page 3
                                                                                                                                   Page 3 of 9
Debtor 1       William  & Julie Romanowski
               _______________________________________________________                                 Case number (if known)_____________________________________
               First Name        Middle Name             Last Name




Part 3:     Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor                  
                                               ✔ No. Go to Part 4.
    of any full- or part-time
    business?                                   Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an                         _______________________________________________________________________________________
                                                       Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or                     _______________________________________________________________________________________
                                                       Number    Street
    LLC.
    If you have more than one
                                                       _______________________________________________________________________________________
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.                                  _______________________________________________         _______      __________________________
                                                        City                                                   State        ZIP Code


                                                       Check the appropriate box to describe your business:
                                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                        None of the above

13. Are you filing under                       If you are filing under Chapter 11, the court must know whether you are a small business debtorRUDGHEWRU
    Chapter 11 of the                         FKRRVLQJWRSURFHHGXQGHU6XEFKDSWHU9 so that it can set appropriate deadlines. If you indicate that you
    Bankruptcy Code and                      are a small business debtorRU\RXDUHFKRRVLQJWRSURFHHGXQGHU6XEFKDSWHU9, you must attach your
                                               most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
    are you a small business
                                               if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtorRUDGHEWRUDV
    GHILQHGE\86&                    No. I am not filing under Chapter 11.
      ?                                   
                                               ✔ No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small                         the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).
                                                <HV,DPILOLQJXQGHU&KDSWHU,DPDVPDOOEXVLQHVVGHEWRUDFFRUGLQJWRWKHGHILQLWLRQLQWKH%DQNUXSWF\
                                                       &RGHDQG,GRQRWFKRRVHWRSURFHHGXQGHU6XEFKDSWHU9RI&KDSWHU
                                                <HV,DPILOLQJXQGHU&KDSWHU,DPDGHEWRUDFFRUGLQJWRWKHGHILQLWLRQLQ  RIWKH
                                                       %DQNUXSWF\&RGHDQG,FKRRVHWRSURFHHGXQGHU6XEFKDSWHU9RI&KDSWHU




  Official Form 101
           Case: 24-40726                       Doc# Voluntary
                                                      1 Filed: Petition for Individuals Filing for Bankruptcy
                                                                    05/16/24 Entered: 05/16/24 13:55:25                                       page 4
                                                                                                                                       Page 4 of 9
Debtor 1     William  & Julie Romanowski
             _______________________________________________________                        Case number (if known)_____________________________________
              First Name    Middle Name          Last Name




 Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any               
                                          ✔ No
     property that poses or is
     alleged to pose a threat              Yes. What is the hazard?     ________________________________________________________________________
     of imminent and
     identifiable hazard to                                              ________________________________________________________________________
     public health or safety?
     Or do you own any
     property that needs
                                                  If immediate attention is needed, why is it needed? _______________________________________________
     immediate attention?
     For example, do you own                                             ________________________________________________________________________
     perishable goods, or livestock
     that must be fed, or a building
     that needs urgent repairs?
                                                  Where is the property? ________________________________________________________________________
                                                                         Number        Street


                                                                         ________________________________________________________________________

                                                                         ________________________________________ _______        ____________________
                                                                         City                                     State          ZIP Code




  Official Form 101
           Case: 24-40726                 Doc# Voluntary
                                                1 Filed: Petition for Individuals Filing for Bankruptcy
                                                              05/16/24 Entered: 05/16/24 13:55:25                                 page 5
                                                                                                                           Page 5 of 9
Debtor 1      William  & Julie Romanowski
              _______________________________________________________                                   Case number (if known)_____________________________________
              First Name     Middle Name             Last Name




Part 5:     Explain Your Efforts to Receive a Briefing About Credit Counseling

                                           About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
   you have received a
   briefing about credit                   You must check one:                                                You must check one:
   counseling.
                                            I received a briefing from an approved credit                     I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                         certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you               I received a briefing from an approved credit                     I received a briefing from an approved credit
    cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                         certificate of completion.
    If you file anyway, the court
                                              Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                              you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                              plan, if any.                                                      plan, if any.
    you paid, and your creditors
    can begin collection activities        
                                           ✔ I certify that I asked for credit counseling                     
                                                                                                              ✔ I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                              unable to obtain those services during the 7                       unable to obtain those services during the 7
                                              days after I made my request, and exigent                          days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                of the requirement.
                                              To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                              required you to file this case.                                    required you to file this case.
                                              Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                      You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                              may be dismissed.                                                  may be dismissed.
                                              Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                              days.                                                              days.

                                            I am not required to receive a briefing about                     I am not required to receive a briefing about
                                              credit counseling because of:                                      credit counseling because of:

                                               Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                 deficiency that makes me                                           deficiency that makes me
                                                                 incapable of realizing or making                                   incapable of realizing or making
                                                                 rational decisions about finances.                                 rational decisions about finances.
                                               Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                 to be unable to participate in a                                   to be unable to participate in a
                                                                 briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                 through the internet, even after I                                 through the internet, even after I
                                                                 reasonably tried to do so.                                         reasonably tried to do so.
                                               Active duty. I am currently on active military                    Active duty. I am currently on active military
                                                                 duty in a military combat zone.                                    duty in a military combat zone.
                                              If you believe you are not required to receive a                   If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




  Official Form 101
           Case: 24-40726                   Doc# Voluntary
                                                  1 Filed: Petition for Individuals Filing for Bankruptcy
                                                                05/16/24 Entered: 05/16/24 13:55:25                                            page 
                                                                                                                                        Page 6 of 9
Debtor 1     William & Julie Romanowski
             _______________________________________________________                                  Case number (if known)_____________________________________
             First Name    Middle Name             Last Name




Part 6:    Answer These Questions for Reporting Purposes

                                         16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do
                                              as “incurred by an individual primarily for a personal, family, or household purpose.”
    you have?
                                               No. Go to line 16b.
                                              
                                              ✔ Yes. Go to line 17.
                                         16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                         16c. State the type of debts you owe that are not consumer debts or business debts.
                                              _______________________________________________________________

17. Are you filing under
    Chapter 7?                           
                                         ✔ No. I am not filing under Chapter 7. Go to line 18.
    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                                   No
    administrative expenses
    are paid that funds will be                    Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                
                                         ✔ 1-49                                      1,000-5,000                            25,001-50,000
    you estimate that you                 50-99                                     5,001-10,000                           50,001-100,000
    owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                          200-999
19. How much do you                      
                                         ✔ $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                          $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20. How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
   estimate your liabilities              $50,001-$100,000                         
                                                                                    ✔ $10,000,001-$50 million                $1,000,000,001-$10 billion
   to be?                                 $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                          $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Part 7:    Sign Below

                                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                  correct.
                                         If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                         of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                         under Chapter 7.
                                         If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                         this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                         I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                         I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                         with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                         18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                           ______________________________________________               _____________________________
                                            Signature of Debtor 1                                            Signature of Debtor 2

                                            Executed on 04/26/2024
                                                        _________________                                    Executed on 04/26/2024
                                                                                                                         __________________
                                                               MM   / DD   / YYYY                                          MM / DD     / YYYY


  Official Form 101
           Case: 24-40726                 Doc# Voluntary
                                                1 Filed: Petition for Individuals Filing for Bankruptcy
                                                              05/16/24 Entered: 05/16/24 13:55:25                                           page 
                                                                                                                                     Page 7 of 9
Debtor 1     William  & Julie Romanowski
             _______________________________________________________                               Case number (if known)_____________________________________
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                        _________________________________                                  Date             04/26/2024
                                                                                                                           _________________
                                           Signature of Attorney for Debtor                                                MM    /   DD / YYYY



                                            Miles Woodlief
                                           _________________________________________________________________________________________________
                                           Printed name

                                            Archer
                                           _________________________________________________________________________________________________
                                           Firm name

                                            775 East Blithedale Avenue Suite 514
                                           _________________________________________________________________________________________________
                                           Number Street

                                           _________________________________________________________________________________________________

                                            Mill Valley                                                     Calif.         94941
                                           ______________________________________________________ ____________ ______________________________
                                           City                                                   State        ZIP Code




                                                              415.730.3032
                                           Contact phone _____________________________________             Email address
                                                                                                                           miles@thearcherfirm.com
                                                                                                                           ______________________________



                                            124467                                                          Calif.
                                           ______________________________________________________ ____________
                                           Bar number                                             State




  Official Form 101
           Case: 24-40726                Doc# Voluntary
                                               1 Filed: Petition for Individuals Filing for Bankruptcy
                                                             05/16/24 Entered: 05/16/24 13:55:25                                            page 
                                                                                                                                     Page 8 of 9
Debtor 1     William  & Julie Romanowski
             _______________________________________________________                            Case number (if known)_____________________________________
              First Name   Middle Name            Last Name




For you if you are filing this             The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                      should understand that many people find it extremely difficult to represent
attorney                                   themselves successfully. Because bankruptcy has long-term financial and legal
                                           consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                    To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                    technical, and a mistake or inaction may affect your rights. For example, your case may be
                                           dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                           hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                           firm if your case is selected for audit. If that happens, you could lose your right to file another
                                           case, or you may lose protections, including the benefit of the automatic stay.
                                           You must list all your property and debts in the schedules that you are required to file with the
                                           court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                           in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                           property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                           also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                           case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                           cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                           Bankruptcy fraud is a serious crime; you could be fined and imprisoned.
                                           If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                           hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                           successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                           Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                           be familiar with any state exemption laws that apply.

                                           Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                           consequences?
                                            No
                                            Yes
                                           Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                           inaccurate or incomplete, you could be fined or imprisoned?
                                            No
                                            Yes
                                           Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                            No
                                            Yes. Name of Person_____________________________________________________________________.
                                                     Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).



                                           By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                           have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                           attorney may cause me to lose my rights or property if I do not properly handle the case.


                                          _______________________________________________             ______________________________
                                             Signature of Debtor 1                                       Signature of Debtor 2

                                           Date               _________________                          Date             _________________
                                                              MM / DD / YYYY                                              MM / DD / YYYY

                                           Contact phone ______________________________________          Contact phone    ________________________________

                                           Cell phone         ______________________________________     Cell phone       ________________________________

                                           Email address ______________________________________          Email address    ________________________________



  Official Form 101
           Case: 24-40726                Doc# Voluntary
                                               1 Filed: Petition for Individuals Filing for Bankruptcy
                                                             05/16/24 Entered: 05/16/24 13:55:25                                        page 
                                                                                                                                 Page 9 of 9
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